          Case 4:19-cv-00226 Document 367 Filed on 01/17/21 in TXSD Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
    DWIGHT RUSSELL, ET AL.
        On behalf of themselves and all
        Others similarly situated,
              Plaintiffs,

    v.
                                                                      C.A. No. 4:19-CV-00226
    HARRIS COUNTY, TEXAS, ET AL.,
             Defendants.



          FELONY JUDGES’ ADVISORY CONCERNING SUBSTITUTION BY RULE 1

            Plaintiffs’ lawsuit includes official capacity claims against Harris County felony judges,

including Judge Herb Ritchie, Judge Randy Roll, Judge Jesse McClure, III, and Judge George

Powell (“Departing Felony Judges”). In the 179th, 337th, 339th, and 351st District Courts, new

judges have been appointed and will be taking the place of Departing Felony Judges. The following

felony judges (“New Felony Judges”) have been appointed to replace them as follows:

         1. 179th – Judge Ana Martinez – replacing Judge Randy Roll

         2. 337th – Judge Colleen Gaido – replacing Judge Herb Ritchie

         3. 339th – Judge Te’iva Bell – replacing now Justice Jesse McClure

         4. 351st – Judge Natalia Cornelio – replacing Judge George Powell

            Pursuant to Federal Rule of Civil Procedure 25(d), New Felony Judges were substituted

automatically for Departing Felony Judges when they assumed their benches on January 1, 2021.

Judges Gaido and Martinez are represented by the same counsel as Departing Felony Judges, AAG



1
 The substituted defendants respectfully request that this Court direct the district clerk to amend the docket to reflect
the proper parties.


                                                           1
     Case 4:19-cv-00226 Document 367 Filed on 01/17/21 in TXSD Page 2 of 3




Courtney Corbello. It is unknown whether Judge Bell and Judge Cornelio have sought or retained

counsel as of today’s date.

        This advisory is submitted to assist the Court to assist in ensuring the docket remains clear

as to the who the parties are in this suit.

      Dated: January 17, 2021.

                                              Respectfully Submitted.

                                              KEN PAXTON
                                              Attorney General of Texas

                                              BRENT WEBSTER
                                              Deputy First Assistant Attorney General

                                              GRANT DORFMAN
                                              Deputy First Assistant Attorney General

                                              SHAWN COWLES
                                              Deputy Attorney General for Civil Litigation

                                              SHANNA E. MOLINARE
                                              Division Chief
                                              Law Enforcement Defense Division

                                              /s/ Courtney Corbello
                                              COURTNEY CORBELLO
                                              Assistant Attorney General
                                              Attorney in Charge
                                              Texas State Bar No. 24097533
                                              Southern District ID No. 3089117
                                              courtney.corbello@oag.texas.gov

                                              /s/ Landon A. Wade
                                              LANDON A. WADE
                                              Assistant Attorney General
                                              Texas State Bar No. 24098560
                                              Southern Distr. No. 3503435
                                              Landon.Wade@oag.texas.gov


                                                 2
     Case 4:19-cv-00226 Document 367 Filed on 01/17/21 in TXSD Page 3 of 3




                                              /s/ Jonathan M. Pena
                                              JONATHAN PENA
                                              Assistant Attorney General
                                              Texas State Bar No. 24110207
                                              Southern Distr. No. 3350256
                                              Jonathan.Pena@oag.texas.gov

                                              OFFICE OF THE ATTORNEY GENERAL
                                              Law Enforcement Defense Division
                                              P.O. Box 12548, Capitol Station
                                              Austin, Texas 78711
                                              (512) 463-2080 / (512) 370-9410 (Fax)

                                              Counsel for the Felony Judges

                                 NOTICE OF ELECTRONIC FILING

       I, COURTNEY CORBELLO, Assistant Attorney General of Texas, certify that I have
electronically submitted for filing, a true and correct copy of the above and foregoing in accordance
with the Electronic Case Files system of the United States District Court for the Southern District
of Texas, on January 17, 2021.
                                                    /s/ Courtney Corbello
                                                    COURTNEY CORBELLO
                                                    Assistant Attorney General

                                    CERTIFICATE OF SERVICE

        I, COURTNEY CORBELLO, Assistant Attorney General of Texas, do hereby certify that a
true and correct copy of the above and foregoing has been served directly to all counsel on record
by the Electronic Case Files System of the Southern District of Texas on January 17, 2021.

                                                  /s/ Courtney Corbello
                                                  COURTNEY CORBELLO
                                                  Assistant Attorney General




                                                 3
